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CODE OF
BUSINESS
CONDUCT
Live Our Credo, Know Our Code
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Our Credo
We believe our ﬁrst responsibility is to the doctors, nurses and patients, to mothers and
fathers and all others who use our products and services. In meeting their needs everything
we do must be of high quality. We must constantly strive to reduce our costs in order to
maintain reasonable prices. Customers’ orders must be serviced promptly and accurately.
Our suppliers and distributors must have an opportunity to make a fair proﬁt.

We are responsible to our employees, the men and women who work with us throughout
the world. Everyone must be considered as an individual. We must respect their dignity and
recognize their merit. They must have a sense of security in their jobs. Compensation must
be fair and adequate, and working conditions clean, orderly, and safe. We must be mindful
of ways to help our employees fulﬁll their family responsibilities. Employees must feel free
to make suggestions and complaints. There must be equal opportunity for employment,
development, and advancement for those qualiﬁed. We must provide competent
management, and their actions must be just and ethical.

We are responsible to the communities in which we live and work and to the world
community as well. We must be good citizens – support good works and charities and
bear our fair share of taxes. We must encourage civic improvements and better health and
education. We must maintain in good order the property we are privileged to use, protecting
the environment and natural resources.

Our ﬁnal responsibility is to our stockholders. Business must make a sound proﬁt. We must
experiment with new ideas. Research must be carried on, innovative programs developed
and mistakes paid for. New equipment must be purchased, new facilities provided and new
products launched. Reserves must be created to provide for adverse times. When we
operate according to these principles, the stockholders should realize a fair return.
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Our CREDO, Our VALUES, Our CONDUCT
A letter from Alex Gorsky
Every day, our products and services touch the lives of one billion people around the world — what I view as
not only a great privilege, but a great responsibility. Our Company’s global reach is a testament to the high quality
that our customers have come to expect from Johnson & Johnson, but also speaks to the tremendous amount of
trust customers have in each of our businesses.

As the world’s largest health care company, we’ve been building that trust for more than a century. It is Our Credo
values that have helped guide the important work that we do, deﬁning our ﬁrst responsibilities to the doctors,
nurses and patients, the mothers and fathers, and everyone who uses our products and services.

If Our Credo is our compass, then our Code of Business Conduct is our road map.

Our Code of Business Conduct ensures that we hold ourselves and how we do business to a high standard.
The Code sets requirements for business conduct and serves as a foundation for our Company policies,
procedures and guidelines, all of which provide additional guidance on expected behaviors.

Our actions, words and behaviors do matter. Regardless of where we live or the job we do, when we do what’s
right — in other words, when we act with the highest integrity — we live Our Credo values, and show we truly
care for the people we serve and respect the people with whom we work.

I am proud to lead a company that has a long history of high ethical business practices, including empowering our
employees to do the right thing. I remind you to familiarize yourself with the Johnson & Johnson Code of Business
Conduct and use it as your daily guide. In a world that is increasingly complex, we all must remain vigilant that our
words and actions reﬂect the right behavior.

Thank you for doing your part to carry on Our Credo values and fulﬁll the obligations of our Code of Business
Conduct. Together, these documents are critical tools that help each of us as Johnson & Johnson employees
forge a positive path to better serve all of our key stakeholders.
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Alex Gorsky
Chairman & CEO



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Introduction
What is the Johnson & Johnson Code of Business Conduct?
The values and principles spelled out in Our Credo serve as our compass; the Johnson & Johnson Code of
Business Conduct (“Code”) is the road map that helps us stay on course with those values.

The Code sets basic requirements for business conduct and serves as a foundation for our Company policies,
procedures and guidelines, all of which provide additional guidance on expected behaviors.



Why do we have a Code, and why must we follow it?
To continue to operate and maintain our reputation as a Company that puts ﬁrst the needs of the people we
serve around the world, we must each learn, understand and comply with our Code.

Complying with our Code is about creating an environment where we can do our best work and be proud of the
work we do, the challenges we overcome and the successes we achieve — all because we do these things fairly,
legally and with integrity.

Whenever we become aware of a violation of the Code, Company policy or the law, we will act to address
the problem and prevent future occurrences. Depending on the circumstances, corrective and preventive
steps might include training, counseling and disciplinary actions up to and including termination of employment.

You have a responsibility to speak up when you are in a situation or are aware of a situation that you
believe may violate or lead to a violation of the Code, Company policy or the law. Our Escalation Procedure
can offer guidance on how to bring attention to a matter of concern.
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                                                               Is
                                                         the conduct
                                                      a violation of the
HOW TO MAKE                                          Johnson & Johnson
                                                      Code of Business
THE RIGHT DECISION                                   Conduct, Company
                                                           policy or
                                                           the law?



                                                       Is the conduct
                                                                                              IF YOU
      If you are faced                                  inconsistent                        ANSWERED
       with a difﬁcult                                 with Our Credo
                                                      responsibilities?
       decision about                                                                      “YES”
     business conduct,                                                                      to any of
      you should ask                                  Will this conduct                  these questions,
       yourself these                                 appear unethical
                                                      to stakeholders
                                                        outside our
          questions:
                                                                                           you should
                                                         Company?
                                                                                          ask for help.
                                                          Could the
                                                       conduct harm
                                                       my reputation
                                                      or the reputation
                                                        of Johnson &
                                                          Johnson?


Who must follow the Code?
All employees of the Johnson & Johnson Family of Companies are required to comply with the Code of Business
Conduct, Company policies and laws that govern our activities. It is the responsibility of every employee to know
and follow the Code. Together with Our Credo and other Company policies, the Code helps us make the right
decisions and take the right actions, regardless of where we work or the type of work we do.

We believe that every employee is a leader, regardless of your job, title or function. By following our Code, you
serve as a role model for your peers, business partners, customers and others who see you in action every day.

If you have a management role, you have additional responsibilities to serve as a positive role model in every
respect and to help your employees review, understand and apply the Code.
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Individuals and companies conducting business on our behalf must also follow our Code of Business Conduct,
in addition to other relevant Company policies. Applicable provisions of this Code should be included in the
contracts of third-party suppliers, manufacturers, contractors, vendors and distributors doing business on behalf
of the Johnson & Johnson Family of Companies.




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Where can we go for advice and guidance on our Code?
You are not alone! We have processes, guidance and procedures in place to help you follow this
Code, Company policy and the law. Take advantage of the breadth of capabilities, resources
and expertise that exist globally within Johnson & Johnson, including:

  MANAGERS AND SENIOR LEADERSHIP IN YOUR ORGANIZATION
  are available to answer questions and are generally most familiar with the Company guidelines
  that apply to the business activities in your organization.

  HUMAN RESOURCES
  can explain and answer questions about employment, beneﬁts and workplace issues.

  THE LAW DEPARTMENT
  can help explain and interpret this Code, and provide guidance about how to conduct business
  on behalf of Johnson & Johnson in compliance with the law.

  HEALTH CARE COMPLIANCE AND PRIVACY
  can offer advice on Company policies, guidance and recognized industry standards that govern our
  interactions with health care professionals and government ofﬁcials and the privacy of our stakeholders.

  INTERNAL AUDIT & FINANCE
  are available to answer questions about the Code of Business Conduct or Company policies
  related to ﬁnancial, company controls and accounting matters.

  QUALITY AND COMPLIANCE
  can explain and answer questions regarding the quality, safety, efﬁcacy and regulatory compliance
  of our products and supply chain processes, including environmental, health and safety.

  GLOBAL SECURITY
  protects the Johnson & Johnson Family of Companies’ employees and assets worldwide. Contact local
  security if there is an immediate danger or threat in the workplace.

  OUR CREDO HOTLINE (credohotline.com)
  is available 24 hours a day, seven days a week. It is independent, secure and conﬁdential. In most
  regions, employees can choose to remain anonymous, but are encouraged to identify themselves
  and to provide as much information as possible so the Company can conduct an efﬁcient and
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  effective investigation of the reported issue.




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Every employee’s responsibility                                                                    Speaking up
To fulﬁll Our Credo responsibilities and maintain and enhance our culture and reputation,
we rely on our employees to help enforce the Code. If you think there is a violation of the
                                                                                                   By asking questions and reporting
Johnson & Johnson Code of Business Conduct, or if you think an activity or behavior                concerns, you are doing the right
could lead to a violation, it is your responsibility to speak up.                                  thing and helping our Company
                                                                                                   stop or prevent misconduct.
Whether you report anonymously or not, you should provide as many details as possible so
the issue can be addressed thoroughly and promptly. In addition, you have a responsibility to
cooperate in an investigation.

Our Company does not tolerate retaliation against anyone who raises a concern
under this Code or assists with an investigation.

Any employee who engages in retaliation will face disciplinary action, which could include
termination of employment.
                                                                                                   Retaliate
Every manager’s responsibility
If you manage other employees, you have a special and important responsibility to set an example
and act in a manner consistent with our Code of Business Conduct. Here are important guidelines
you should follow:

   Act as a role model, demonstrating ethical behavior in the performance of your duties;

   Make fair and objective business-based decisions;

   Review the Code at least once a year with your employees;

   Help employees understand the Code and Company policies and have access to resources
   to help them live the Code every day;

   Ensure employees are aware of, and properly trained on, the relevant laws, regulations and Company policies
   that govern the business activities that they are engaged in on behalf of the Company;                                        Seek guidance
   Create an environment where employees are comfortable speaking up without fear of retaliation;                                when you are unsure
   Take seriously any concern raised by an employee that compromises our Code, and take time to understand
   if the issue should be escalated. If so, escalate the matter as soon as possible;
                                                                                                                                 or could beneﬁt
                                                                                                                                                        Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 9 of 36




   Take corrective or preventive action when someone violates the Code;                                                          from an additional
   Fully support any investigation;
                                                                                                                                 perspective.
   Recognize and reward ethical behavior.




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How We Conduct
OUR BUSINESS
    Words we live by
      Credo responsibilities
      Compliance
      Ethics
      Fairness
      Impartiality
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        Our Business                                                     09
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“WE BELIEVE
 OUR FIRST
 RESPONSIBILITY
 IS TO THE DOCTORS,
 NURSES AND
 PATIENTS, TO
 MOTHERS AND
 FATHERS AND ALL
 OTHERS WHO USE
 OUR PRODUCTS
 AND SERVICES.”
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Our Credo



              Our Business                                                      10
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How We Conduct Our Business

 WHAT it means
 The Johnson & Johnson Family of Companies has the privilege of doing
 business in many countries and regions around the world. In every
 single location, we have the responsibility to know and follow laws and
 regulations that apply to our business.


 WHY it matters
 While compliance with laws and regulations is mandatory, it also shows
 our commitment to being a responsible corporate citizen. It demonstrates
 we care about and respect the people we serve. In addition, non-
 compliance with laws and regulations can result in civil and criminal
 ﬁnes and penalties, imprisonment and other commercial or personal
 disciplinary actions.


 HOW we do it
 Our Company has comprehensive policies, procedures and required
 training that help employees comply with laws and regulations. The
 Johnson & Johnson Law, Health Care Compliance & Privacy, Quality
 & Compliance, Human Resources and Finance departments are also
 there to help us navigate the laws and regulations that impact our
 work. Any conﬂict between local laws and regulations and this
 Code of Business Conduct should be brought to the
 attention of the Law Department.
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                                 Our Business                                                   11
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Every employee’s duty
Every employee is responsible for being familiar with and following the relevant laws, regulations and          What should I do?
Company policies and procedures that govern the business activities in which the employee engages.
                                                                                                                Q: Asales directtor from a competing
Development, approval, manufacture, sales and marketing of                                                        company reac ched out to me to
pharmaceuticals, medical devices, diagnostics, and consumer                                                       discuss the price of our respective
                                                                                                                  products.
products and services
                                                                                                                A: You should ne
                                                                                                                               ever enter into a
Our Credo states that in meeting the needs of doctors, nurses, patients, mothers, fathers and all others
                                                                                                                  discussion witth competitors about
who use our products and services, everything we do must be of high quality. This commitment extends
                                                                                                                  the price of ou
                                                                                                                                ur products or other
to everything we do to bring our products to the people who use them.                                             proprietary infformation. If you receive
                                                                                                                  a call from a competitor, or if someone
We aspire to bring the highest standards and level of integrity to each of these business activities by:
                                                                                                                  unknown to yo  ou approaches you to
  Complying with the laws, standards and regulations that apply to our products and processes                     discuss pricing
                                                                                                                                g, make it clear that
  (such as quality regulations and standards);                                                                    you will not dis
                                                                                                                                 scuss the price of our
                                                                                                                  products with competitors. Politely
  Upholding ethical, scientiﬁc and clinical standards and complying with all laws and regulations in              end the conversation and report the
  all research and development activities worldwide;                                                              incident to the
                                                                                                                                e Law Department.
  Ensuring the safety of patients and volunteers who take part in clinical trials, protecting their
  conﬁdentiality and complying with data protection laws;

  Complying with the laws and regulations that cover gaining marketing authorization to sell our
  products and interacting with regulators and other government ofﬁcials;

  Adhering to the applicable manufacturing, packaging, distribution and export laws and regulations for                                Each employee
  our industry and in the countries where we do business;
                                                                                                                                       must speak up if he
  Following all laws and regulations regarding the promotion, marketing and sales of our products,
  including ensuring that what we say is truthful, not misleading, and is consistent with regulatory                                   or she believes that
  approvals for our products;
                                                                                                                                       our Company is not
  Complying with all laws relating to product quality and safety, consistently monitoring the safety, quality
  and performance of our products and complying with all requirements for reporting adverse events and                                 complying with a
  product quality complaints.
                                                                                                                                                               Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 13 of 36




                                                                                                                                       law or regulation.



                                           Our Business                                                                                                       12
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Anti-corruption and anti-bribery laws
Johnson & Johnson takes a strong stance against bribery consistent with the anti-bribery laws that exist in many         What should I do?
countries around the world. We strictly prohibit bribes, kickbacks, illegal payments and any other offer of items
                                                                                                                         Q: Asurgeon told me that a distributor
of value that may inappropriately inﬂuence or reward a customer to order, purchase or use our products and                 whho sells our products has invited
services, whether provided directly or through a third party such as a distributor, customs broker or other agent.         the
                                                                                                                             e surgeon to be their guest for a
We enter into a wide variety of scientiﬁc, educational, sales, promotional and marketing arrangements with                 golf weekend at a resort location.
                                                                                                                           Thee surgeon is asking whether the
both public and private entities and individuals, including health care professionals. We also interact with
                                                                                                                           invitation is appropriate because it
government regulators and inspection authorities. It is our duty to follow local and internationally applicable laws
                                                                                                                           camme from our distributor, not from
and ethical standards prohibiting bribery and corruption and to avoid inappropriately inﬂuencing the medical
                                                                                                                           Joh
                                                                                                                             hnson & Johnson.
decisions of health care professionals and the purchasing decisions of entities that buy our products and services.
                                                                                                                         A: Dis
                                                                                                                              stributors, sales agents and other
When we interact with health care professionals, health care organizations and systems, pharmacies, retailers              thirrd parties that act on behalf of
and other providers, and government and private purchasers of health care products and services, including any             the
                                                                                                                             e Company may not engage in
government ofﬁcial, we do so in a legal and ethical manner consistent with Our Credo, Company policies, laws               acttivities that would be prohibited
and regulations and industry standards. Any third party who conducts business on our behalf must                           if th
                                                                                                                               hey were performed by an
                                                                                                                           employee of the Johnson & Johnson
also comply with these requirements.
                                                                                                                           Fam
                                                                                                                             mily of Companies directly. You
For additional guidance, consult our Health Care Compliance Global Framework,                                              sho
                                                                                                                             ould immediately inform your
U.S. Regulatory Guidance Documents and Health Care Business Integrity Guide (applicable globally).                         manager, the Law Department or
                                                                                                                           Hea
                                                                                                                             alth Care Compliance about what
Where and with whom we conduct business may vary, but our approach is consistent:                                          you
                                                                                                                             u have learned concerning the
  We treat business partners, competitors and other stakeholders and decision-makers fairly. We strive to                  disttributor’s conduct.
  work with third parties who also value and demonstrate high, ethical standards in their business practices.

Antitrust and competition laws
Antitrust and competition laws promote fair competition and protect consumers from unfair business practices.
These laws frequently address areas such as illegal agreements between competitors aimed at preventing
or restricting free competition, price ﬁxing and unfair trade practices. We comply fully with all applicable antitrust
and competition laws.

We are responsible for dealing fairly with customers, suppliers, competitors and other third parties. This means
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our employees avoid taking unfair advantage through manipulation, concealment or misrepresentation of key
facts, or other unfair practices. For questions on antitrust and competition laws, contact the Law Department.




                                           Our Business                                                                                                            13
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Global trade compliance: anti-boycott and trade sanctions laws
As a global provider of health care products and services, we conduct import and export transactions every day and
must comply with all applicable local, regional and international trade laws, rules and regulations. We also respect
trade sanctions and import/export restrictions imposed by governments that are applicable to our activities.

“Third country” payments
No payments of any kind should be made to a third party in any country other than the country where the sales
were made, or in which the distributor or sales agent has a substantial place of business. For questions regarding
“third country” payments, contact the Finance Department or Law Department.

Political activities and contributions of Company funds
to political parties and campaigns
Johnson & Johnson is committed to citizenship and community involvement. Employees are free to contribute their
time and support to candidates, parties and civic organizations. However, an employee’s individual involvement must
be totally voluntary, on the employee’s own time and at the employee’s own expense.

Employees are not allowed to directly, or indirectly, use or contribute Company funds or assets to a political party,
candidate or campaign unless the activity is lawful in the country involved and is approved by Government Affairs
& Policy and the appropriate business or functional leader. This includes use of Johnson & Johnson facilities, ofﬁce
equipment, supplies, inventory and even an employee’s own work time.

Public procurement
Public authorities are critical customers for the Johnson & Johnson Family of Companies because they buy our health
care products and services. In many countries, public bodies, such as government-run hospitals, are subject to local
laws governing how they procure products and services. As a supplier of products, we are also required to comply
with these laws.

Employees who are involved in tender processes, or who offer to provide our products and services under a
contractual agreement to a public authority, must understand and follow the rules of public procurement. These rules
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can be complex but are critically important to our business. The Law Department can provide guidance on these rules.




                                          Our Business                                                                  14
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Fair purchasing                                                                                       We care about
Our Company purchases many items necessary to support our work, such as ingredients                   the communities
for our research, development and manufacturing activities, supplies and equipment for our
ofﬁces, and catering services for our meetings. When making these and other purchases,                 IN WHICH WE LIVE
we must act fairly and impartially toward vendors, suppliers and other service providers.             AND WORK AND THE
See the “Conﬂicts of Interest” section of the Code for further guidance on accepting gifts
                                                                                                     world community
and entertainment from vendors, suppliers and service providers.
                                                                                                                AS WELL.
Sustainability and environmental laws and regulations
Our Credo states, “We must maintain in good order the property we are privileged to use, protecting the environment
and natural resources.” Our corporate-wide sustainability programs help us reduce environmental impacts from our
operations, products and services, manage environmental risks and pursue sustainability initiatives such as reducing
waste and promoting recycling. Employees are required to adhere to Company-wide programs, as well as be familiar
and comply with environmental laws and regulations that relate to our speciﬁc work responsibilities. This includes
complying with regulations related to the reporting, approval and registration of chemical ingredients used in our
production and products.

Animal welfare
We view the ethical and humane treatment of animals required for scientiﬁc investigation to be both a moral
and regulatory responsibility. We comply with the high standards established in our Company’s Guideline on
the Humane Care and Use of Animals. In addition, we support advancing alternatives to animal research.                     Did you know?
                                                                                                                           The Law Department is available to
Privacy
                                                                                                                           conduct training and provide advice to
In the course of business, we collect and store personal information about employees, business partners,                   help our businesses and employees
patients, health care professionals, consumers and others, such as birth dates, addresses and ﬁnancial, medical            understand and comply with laws and
and other information. When we collect and process personal information, we must comply with local laws and                regulations in the countries in which
Company privacy policies.                                                                                                  we do business.

Personal information should be collected only for legitimate business purposes, shared only with those who are             You can ﬁnd comprehensive policies on
allowed access, protected in accordance with security policies and retained only for as long as necessary. We also         key topics covered throughout the Code
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must ensure that third parties with access to personal information are contractually obligated to protect it.              at the Johnson & Johnson Law Center.




                                           Our Business                                                                                                             15
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FAIR
TREATMENT
of Employees
 Words we live by
  Respect & dignity
  Diversity & inclusion
  Safety & health
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                                    Fair Treatment                             16
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“WE ARE
 RESPONSIBLE
 TO OUR
 EMPLOYEES,
 THE MEN
 AND WOMEN
 WHO WORK
 WITH US
 THROUGHOUT
 THE WORLD.”
Our Credo
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                                     Fair Treatment                             17
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Fair Treatment of Employees
 WHAT it means
 We treat each other with respect, dignity and fairness. Each
 of us deserves a safe, clean and welcoming place where we
 can do our best work.


 WHY it matters
 Different thoughts, abilities, experiences and individual characteristics
 make our work environment richer and lead to better business
 decisions. When our employees are fully engaged and empowered,
 we drive innovation and create health care solutions that beneﬁt
 communities around the world.


 HOW we do it
 Our Code of Business Conduct reﬂects the principles
 that deﬁne how we treat each other, keep our work
 spaces safe and healthy, and provide equal
 opportunities for our workforce.
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Engaging our workforce                                                                                                          Q& A
At Johnson & Johnson, we believe in the power of people and value a globally diverse and inclusive culture, rooted in         Q: My team is behind schedule on
the ethical behaviors, respect and integrity inherent in Our Credo. An engaged, high-performing, diverse and inclusive          ﬁnishing a project and our operating
workforce will better understand and address the challenges and needs faced by our customers, patients, health care             company is depending on us to
professionals and communities.                                                                                                  meet the deadline. We’ve found
                                                                                                                                ways to achieve the goal by skipping
Non-discrimination and preventing harassment                                                                                    a couple of safety procedures. As
                                                                                                                                long as we are careful, is it OK to
We must be treated fairly and respected for our contributions. Our Company provides equal opportunities for
                                                                                                                                speed up the process to meet the
employment. We base employment decisions on merit, considering qualiﬁcations, skills and achievements. We do
                                                                                                                                business deliverable?
not tolerate discrimination based on characteristics such as age, gender, race, ethnic background, sexual orientation,
                                                                                                                              A: Safety procedures are in place to
gender identity, national origin or religious beliefs. We also do not tolerate harassment. Harassment is unwelcome and
                                                                                                                                keep you safe and to protect the
offensive conduct that may interfere with a person’s ability to perform his or her work. Harassment does not require intent
                                                                                                                                integrity of our products and the
to offend. Inappropriate conduct meant as a joke, a prank or even a compliment can lead or contribute to harassment.            health of those who use them.
                                                                                                                                Skipping safety procedures is not
These provisions apply to interactions with employees, customers, contractors, suppliers and applicants for
                                                                                                                                allowed. Meet with your manager to
employment and any other interactions where employees represent the Johnson & Johnson Family of Companies.
                                                                                                                                develop a plan that gets the work
                                                                                                                                done safely and compliantly.
Safe and healthy work environment
At Johnson & Johnson, we are committed to providing a safe and healthy workplace for employees,
business partners, visitors and vendors working within, or visiting, our facilities and premises.

Every employee is responsible for making safety and health a priority and should:

  Promptly report unsafe or hazardous conditions to supervisors;

  Comply with all policies, laws, regulations and standards relating to conditions of employment, including
  those concerning hours, wages and other working conditions;

  Comply with applicable workplace safety and industrial hygiene policies, laws, regulations and standards.

Child labor and illegal, abusive or forced labor have no place in our operations and the operations of our
suppliers or other third-party vendors of the Johnson & Johnson Family of Companies. In addition to requiring
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compliance with local laws and regulations, Johnson & Johnson has policies that prohibit the use of forced
or compulsory labor in the manufacture of our products and product components.




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Use of social media
“Social media” includes any digital communication channels that allow individuals to create and                A CHECKLIST
share content and post comments.
                                                                                                               OF YOUR
Employees must comply with all Company policies in their use of online media. Our policies apply to
communications related to job responsibilities and to personal communications that may impact
                                                                                                               RESPONSIBILITIES
the Company. In personal activities on social media, employees should be polite, respectful, and remember       Know the Code of Business Conduct
that one’s conduct may impact the way others view who we are and what we stand for as a Company.
                                                                                                                Respect diversity and inclusion
Be alert to reporting obligations, including adverse event reporting procedures, and protecting                 Be inclusive
Johnson & Johnson conﬁdential information. Employees should be mindful of the content created, shared
                                                                                                                Treat your fellow employees with
and posted, remembering that the Internet is a public place. Always use good judgment when engaging in
                                                                                                                dignity and respect
social media.
                                                                                                                Stay safe at work and help others do
Our Company’s full policy related to employee online activity is available in the Johnson & Johnson             the same
Worldwide Online Policy, available at socialmedia.jnj.com.
                                                                                                                Speak up if someone is breaking our
                                                                                                                Code, regardless of the person’s
                                                                                                                position in the Company or whether
                                                                                                                the person is a vendor, customer or
                                                                            Q& A                                temporary worker
                                                                          Q: A co-worker posted an              If you have questions, ask for help
                                                                             offensive, sexual comment about
                                                                             me on his personal social media
                                                                             page. Is my co-worker allowed
                                                                             to do that?
                                                                          A: Employee use of online
                                                                             media must comply with
                                                                             Company policies, including
                                                                             Company harassment policies.
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FINANCIAL
INTEGRITY&
Protecting Our Assets

                   Words we live by
                    Accuracy
                    Transparency
                    Integrity
                    Trust
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“OUR FINAL
 RESPONSIBILITY
 IS TO OUR
 STOCKHOLDERS.”
Our Credo
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Financial Integrity &
Protecting Our Assets
 WHAT it means
 We keep complete and accurate ﬁnancial records that fairly represent
 the condition and results of the Company. We protect our Company’s
 property, assets and conﬁdential information.


 WHY it matters
 Financial integrity helps us maintain the trust and conﬁdence
 we’ve built with shareholders, governments, patients,
 consumers, health care providers, employees and
 other stakeholders.


 HOW we do it
 Multiple controls are in place to protect and preserve
 our ﬁnancial integrity. Every employee, regardless
 of title or function, is responsible for following
 policies and procedures that involve Company
 funds, the reporting of ﬁnancial and non-ﬁnancial
 results, and the use of Company property.
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Accuracy of Company records and public reports
We are a publicly traded company that conducts business in many countries. In all of our dealings, we must keep
accurate books and records that maintain the integrity of our ﬁnancial reporting, support our internal decision-
making and strengthen our reputation with stakeholders.

Laws require us to be honest and accurate in our ﬁnancial records. And, many people rely on us to report ﬁnancial
information truthfully, completely and in a timely fashion, such as government regulatory agencies, ratings agencies,
and institutional and individual investors.

Inaccurate ﬁnancial reporting could undermine shareholder conﬁdence, impact our reputation and subject the
Company to ﬁnes and penalties.

Below are examples of how we build ﬁnancial integrity into our work processes:

   We sell and purchase products and services based on quality, price and service, and never on the basis of
   giving or receiving payments, gifts, entertainment or favors, or based on other relationships with suppliers.

   We record sales during the appropriate accounting period in accordance with generally accepted
   accounting principles.

   We prohibit the use of Company funds, assets or information for any illegal purpose, including the purchase of
   privileges or special beneﬁts through bribes, illegal political contributions or other illicit payments. We disclose
   and record all funds and assets of the Company in the appropriate reporting period.
                                                                                                                                                  Q& A
   We keep accurate Company books and records and do not make false or artiﬁcial entries for any reason.                                        Q: I was having lunch with a friend, and she
Here are a few rules to keep in mind:                                                                                                              wanted to know how well one of our
                                                                                                                                                   clinical trials was going. I’m sure she was
   Always follow the Company’s procurement and purchasing practices and policies. If you are not sure what the                                     just asking out of curiosity, but I wasn’t
   policies are, ask your manager.                                                                                                                 sure how to handle the situation. Should I
   Make sure to have all payments or usage of Company funds reviewed and approved, as required, by the                                             have changed the subject, or would it have
                                                                                                                                                   been okay to let her in on a little bit of the
   appropriate manager. When submitting business expenses, follow our Company’s Travel & Entertainment and
                                                                                                                                                   early results from the study?
   Health Care Compliance and Business Integrity policies.
                                                                                                                                                A: Changing the subject is one way to
   Clearly and accurately describe all requests for payments and provide supporting documentation; use the                                         go. Another way would be to tell your
   proceeds only for the requested and approved purpose.
                                                                                                                                                   friend that we do not share material
                                                                                                                                                                                                     Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 25 of 36




                                                                                                                                                   non-public information.




                                                                                                                          Financial Integrity                                                       24
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Use of Company assets                                                                                                                      EXAMPLES OF
We rely on Company assets to support our work every day. Computers,
                                                                                                                                           CONFIDENTIAL
mobile devices, information technology hardware and software, vehicles,
                                                                                        Q& A                                               BUSINESS
facilities, machinery, raw materials, inventory, intellectual property, supplies   Q:   I am taking a vacation where I want to
and other assets are placed in our care and should only be used for                     completely disconnect. Is it okay if I
                                                                                                                                           INFORMATION
legal, appropriate reasons. When working with Company information or                    leave my laptop with my administrative              Detailed sales information
technology tools (such as laptops, email, databases, etc.), employees                   assistant to handle any approvals in the
                                                                                                                                            Business performance targets
should set up complex passwords that cannot be easily guessed and                       various Company systems on my behalff?
should never share passwords. Company information should not be stored                  I trust this person completely so I don’t           Product strategies

with unapproved Internet or cloud services as that information may not be               mind sharing my password.                           New product information
protected and may be accessed by unauthorized people.
                                                                                   A: No. Employees should never give their                 Pending personnel announcements
                                                                                        personal password to anyone. Some
Intellectual property and conﬁdential                                                   systems allow you to delegate certain               Manufacturing processes and
                                                                                        actions to others; other systems escalate           equipment designs
business information
                                                                                        issues to your manager in case of absence.          Research priorities and
Our intellectual property and conﬁdential information are irreplaceable                 If you bypass these controls you are                stage-gate results
assets. We must secure and protect the use of these valuable assets.                    undermining the security of our systems,
                                                                                        avoiding your own responsibilities and
Intellectual property includes copyrights, patents, trademarks, product and             putting your assistant in the position of
package designs, brand names and logos, research and development,                       also violating Company policy.
inventions and trade secrets.

At all times, employees should take precautions to protect our intellectual
property and conﬁdential business information. Employees should avoid
talking about or sharing information about these things in public places, such as airports and restaurants.

Any suspected theft of intellectual property or unauthorized disclosure of, or access to, our Company
information should be immediately reported to one’s manager, who will decide on further escalation to
our Information Technology, Global Security or Law Departments.
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Respect for trade secrets and conﬁdential information                                                                                          A CHECKLIST
We respect the trade secrets and conﬁdential information of other companies and individuals. We collect
                                                                                                                                               OF YOUR
information from the public domain and do not permit the inappropriate collection of others’ proprietary information.                          RESPONSIBILITIES
To ﬁnd out information about a competitor, seek out public sources, such as the media, trade literature, the Internet,                            Protect our Company assets,
court papers, regulatory ﬁlings and other public documents. Avoid discussions of competitive information with                                     including physical assets such as
                                                                                                                                                  computers, phones, mobile devices,
employees of competitors in all circumstances, including at professional association or industry meetings.
                                                                                                                                                  machines, vehicles and intellectual
Be truthful and never misrepresent who you are or where you work in an effort to learn about competitors.
                                                                                                                                                  assets, like ideas and inventions

Compliance with securities laws and insider trading                                                                                               Immediately report any concerns
                                                                                                                                                  about illegal activity
By law, we are required to publicly disclose certain important information about our Company, such as sales,
                                                                                                                                                  Never accept or offer a bribe
earnings and signiﬁcant acquisitions, regulatory matters and other material events. When we publicly disclose
                                                                                                                                                  or inappropriate gift
this information, it is our responsibility to do so in fair, complete, accurate, timely and understandable ways.
                                                                                                                                                  Be honest and accurate when
Employees may ﬁnd out important information about the Company before it is released to the public; however,                                       reporting expenses, sales and other
it is every employee’s responsibility to keep non-public information conﬁdential. If employees have important                                     ﬁnancial information
information that has not been disclosed to the public, they are not allowed to:
                                                                                                                                               If you have questions about our Code,
   Buy or sell Johnson & Johnson stock or “put” or “call” options on Johnson & Johnson stock;

   Make transfers or adjustments to other investment vehicles,                                                                                 ask for help.
   including retirement funds;

   Disclose the non-public information to family, friends or any other
   person outside the Company;
                                                                                What should I do?
                                                                                Q:   I have an urgent need for cash and want
   Recommend to family, friends or others that they buy or sell
   Johnson & Johnson stock or “put” or “call” options on Johnson &                   to sell my Company stock. But I’m nervous
   Johnson stock.                                                                    about doing that now because I’m aware of
                                                                                     a big event happening within our Company
Complying with securities laws extends beyond our Company.                           next month that is not public information.
Employees may not buy or sell securities of any other company using
                                                                                A: Contact the Corporate Secretary’s ofﬁce
important non-public information they have learned while performing
                                                                                     at CorporateSecretary@its.jnj.com or any
                                                                                                                                                                                         Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 27 of 36




their duties.
                                                                                     member of the Law Department for guidance.




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ŭ)(6#.-
OF INTEREST:
Avoiding Situations Where Personal Interests May
Conﬂict With Company Responsibilities


                   Words we live by
                     Integrity
                     Disclosure
                     Ethics
                     Good judgment
                     Reputation
                                                                                                         Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 28 of 36




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“ WE ARE
  RESPONSIBLE
  TO THE
  COMMUNITIES
  IN WHICH WE LIVE
  AND WORK
  AND TO THE
  WORLD
  COMMUNITY
  AS WELL.”
Our Credo
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Conﬂicts of Interest
  WHAT it means
  Conﬂict of interest occurs when a personal activity, relationship or
  business involvement interferes — or appears to interfere — with our
  ability to fulﬁll our job responsibilities.


  WHY it matters
  The way we conduct ourselves in our business dealings impacts our
  reputation and the trust we maintain with stakeholders. By discouraging
  and avoiding conﬂicts of interest, we send a clear message about our
  loyalty to our Company’s integrity and our determination to do what’s right.


  HOW we do it
  We make business decisions based on what is in the best interest
  of our Company and not for personal gain or beneﬁt. We require all
  employees to proactively and promptly disclose actual or perceived
  conﬂicts of interest.
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When does “conﬂict of interest” occur?                                                                                THINK IT
A conﬂict of interest occurs when a personal relationship or activity could inﬂuence your judgment and ability
                                                                                                                      THROUGH
to perform your job in an objective way and uphold your duties to your employer. Even the appearance or                 Will this activity or relationship
                                                                                                                        inﬂuence, or appear to inﬂuence,
perception of a conﬂict of interest can place our Company at risk. As employees, we should never allow
                                                                                                                        my ability to make sound and
personal gain or beneﬁt to prevent us from doing what is in the best interest of our Company.
                                                                                                                        unbiased business decisions or
It’s not always clear whether an activity creates a conﬂict of interest. However, it is the responsibility of every     otherwise interfere with my ability
                                                                                                                        to do my job?
employee to disclose a potential conﬂict. For this reason, employees should discuss any potential conﬂicts, or
questions about how to best handle a situation where a conﬂict might exist, with their manager or someone               Will I personally gain something
from Human Resources or the Law Department.                                                                             or will a family member beneﬁt
                                                                                                                        from my involvement in this activity
Gifts, entertainment, hospitality, travel and other items of value                                                      based on my status as an employee
                                                                                                                        of the Johnson & Johnson Family
Suppliers, vendors and others who do business with us are vital to our Company’s success. To keep our                   of Companies?
relationships with them fair, honest and objective, we avoid conﬂicts of interest.
                                                                                                                        Will I be using Company assets
Conﬂicts of interest can occur when an employee solicits or accepts gifts, payments, loans, services or any             for personal gain?

form of compensation from suppliers, customers, competitors or others seeking to do business with our                   Will my participation cause me to
Company. Employees should only accept gifts, entertainment, hospitality, travel and other items of value from           put my interests ahead of what’s
suppliers, vendors and other contractors where they are modest, are not cash or cash equivalents, and do not            best for the Company?

inﬂuence business decisions.                                                                                            Will public disclosure of the
                                                                                                                        activity damage the reputation of
Our Health Care Compliance policies also provide speciﬁc guidance on offering gifts, entertainment,
                                                                                                                        Johnson & Johnson?
hospitality and similar beneﬁts to health care professionals and government ofﬁcials.


                                                                                                                      If you answered “yes”
                                                                                                                      to any of the above questions,
                                                                                                                      discuss the situation with your
                                                                                                                      manager or ask for help.
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WHAT I S ALLOWE D?                                                                                                         REMEMBER…
As a global company, we operate in many diverse environments, where certain activities are an expression of                Not reporting a potential conﬂict of
politeness or a reﬂection of societal and cultural practices. We respect cultural norms to the extent possible,            interest is a violation of our Code.
under the local laws and regulations by which we are governed, but those activities cannot violate this Code.              When in doubt, you should seek
There may be times when we have to modify our responses in a culturally sensitive and thoughtful way,                      guidance from your manager.
especially if health care professionals or government ofﬁcials are involved.

Customary activities include modest forms of hospitality, such as lunches or dinners and occasional gifts of
minimal value, which do not inﬂuence clinical or business decisions. Although it is difﬁcult to deﬁne “customary”
or “modest,” the best approach is to exercise good judgment. If you are offered anything that is more than nominal
in value, you must consult with your manager. You should avoid activities that are excessive or become a regular
occurrence. For example, if the action will cause a disinterested third party to think the gift or service affected your
judgment, then it is excessive and should be refused.



                                                                           Is the gift “modest” or “customary”?




                                                                           Is the gift more than nominal in value?
          Here are some of
            the things to
         consider if a vendor
            offers a gift:                                                 Does the vendor regularly give gifts?




                                                                           Would the gift potentially impact
                                                                           or inﬂuence business objectivity?




Employees are allowed to obtain loans from ﬁnancial institutions that do business with the Company as
                                                                                                                                                                   Case 1:17-cv-11008-MLW Document 38-4 Filed 08/25/17 Page 32 of 36




long as the loans are made based on current rates and conditions. The same rule applies when employees
buy products from our vendors. Transactions should be based on the same terms offered
to any member of the public.




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I S TH I S A CON FLICT?
A supplier sent me a gift basket ﬁlled with sweets. Can I accept it?
  You can accept small gifts of modest value. However, if the gift is such that a third party might think the
  gift could inﬂuence or interfere with your decision-making, use common sense and talk to your manager.

A vendor said he would do some work for free at my house. Is this OK?
  No. This is a conﬂict of interest because the vendor could be doing you a favor to try to gain an
  advantage or get something in return. You can use the vendor’s services, but you must pay the same
  price offered to the public.

Can I invite a customer to spend a week at my vacation home?
  It is generally inappropriate to offer something of more than modest value to a customer, distributor or
  vendor. However, if you have a close personal relationship with the person, this may be acceptable            AREAS TO AVOID
  under certain conditions. Discuss the situation with your manager.
                                                                                                                 The use of Company assets — physical
One of my friends from university has a market research company. He gave me a very interesting                   or intellectual — for personal gain
presentation and is able to do projects for Johnson & Johnson for one year at a very low price.
                                                                                                                 Providing service to a competitor,
Is it OK to give him the business?
                                                                                                                 supplier, proposed supplier or
  Even if the spend is not high, we need to ensure that the ﬁnal decision is based on objective criteria.        customer as an employee, director,
  You should disclose your relationship and the circumstances to your manager.                                   ofﬁcer, partner, agent or consultant

                                                                                                                 Activities that inﬂuence or attempt
Personal investments, transactions and outside business interests
                                                                                                                 to inﬂuence any business transaction
We know ﬁnancial health is important to you and your family. At times, you may want to make business             between the Company and another
investments or take on an additional job to help you build ﬁnancial security. However, you must keep in          entity in which an employee has a
                                                                                                                 direct or indirect ﬁnancial interest or
mind potential conﬂict of interest concerns.
                                                                                                                 acts as a director, ofﬁcer, employee,
                                                                                                                 partner, agent or consultant

                                                                                                                 The purchase or sale of another
                                                                                                                 company’s securities using non-public
                                                                                                                 information that you obtained through
                                                                                                                 your job
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Family members and close personal relationships
Relationships with family members and close personal friends can inﬂuence our decisions. It is important to
be careful about Company business decisions that involve close personal relationships.

To prevent conﬂicts of interest:
  Avoid supervising or taking part in the hiring or promoting of a
  family member.

  Avoid holding a position with access to or inﬂuence over performance
                                                                                         What is a close
  appraisals, salary information or other conﬁdential information related to a
  family member.
                                                                                         personal relationship?
                                                                                                              ?
These situations should also be avoided in connection with another                       It is a relationship with a family member
employee or a prospective employee with whom one has a close                             or another person you are close to which
personal relationship outside the Company.                                               could impair your objectivity when making

If any of these situations occur, an employee must inform his/her manager of             business decisions.

the relationship. The manager will assess the situation, consult with his/her
management as needed, and may elect to transfer one of the employees to
another available position where no conﬂict exists.

I S TH I S A CON FLICT?
My family has an ownership interest in a growing distribution company. I’d like to authorize the use of this
distributor for a Johnson & Johnson business, because I can get us a really good deal. As long as I tell my
manager about my family’s interest in the business, is it allowable to hire the distribution company?
  It is allowable to introduce the distributor to our business. You must fully disclose your family’s
  and your own relationship to the distributor and then excuse yourself from the decision-making
  process and management of the project. The ﬁnal decision should be made independently by
  a senior leader in the business without your involvement, and you should not seek to inﬂuence
  the outcome of the decision in any way.
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My brother-in-law would be a perfect ﬁt for the new marketing job opening up. Can I go ahead and
hire him without an interview or bid process?
   No. You can refer him, but he must go through the normal application process. In addition, you must
   excuse yourself from the decision-making process and you should not seek to inﬂuence the outcome of
   the decision in any way.

Outside board memberships
Serving on outside boards can present conﬂicts of interest and should be disclosed and discussed
with one’s manager. Before accepting membership on any board, it is important to understand one’s
legal responsibilities and avoid afﬁliations that carry the potential for distraction and conﬂicts of interest.
Our outside board membership policy provides additional guidance for executives.


                                                                                                                        KNOW THE 3 “D’s”
                                                                                                                           Disclose
     Where to go for help
                                                                                                                           Discuss
     Although our Code provides examples of conﬂicts of interest, it is impossible to deﬁne every situation. If you
     have a conﬂict of interest or aren’t sure whether you have a conﬂict, you are required to provide details of the      Decide
     conﬂict to your manager and/or his or her manager or your Human Resources or Law Department business
                                                                                                                        Disclosure is key. If you face a gray
     partner. It is a good idea to document the decision in writing.
                                                                                                                        area and are not sure if an activity
                                                                                                                        presents a conﬂict of interest, talk to
                                                                                                                        your manager, supervisor or anyone
                                                                                                                        outlined in the “Where to go for
                                                                                                                        advice and guidance on our Code”
                                                                                                                        section about your concerns.
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CODE OF
BUSINESS
CONDUCT
    Live Our Credo, Know Our Code




 Caring for the world, one person at
 a time, inspires and unites the people
 of Johnson & Johnson.

 This is the current version of the Johnson & Johnson Code of Business Conduct,
 and it supersedes all previous versions.
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